4:12 etl LTE @&)

<e w

Todd >

wue, rwiwat wy wr-Twa TNtIivi

You have at least 4 new

ones
Yes

Ok so all Amrock are

mine? | want to try to set
ra) 0) 0185

 

No there are two (I think)
that are Christina's. | know
all AP is yours and
Appraisal Logistics has
some things. The files
should be in the office.
Jourdon was doing them

Sat, Mar 31, 4:10 PM
q © @
*Oo@a Oo n

 
3:27 aw > ae)

; ww

2 People >
Jourdon Work

The Saturday files are
Hone also.

 

You have 11 files

 

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I'm going to be there ina
few to get them

Jourdon Work
(OA) O
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3:35 PT |

*)
5

2 People >

esa VVUI tal VIvaoe.

Christina Spradley

   
 

  
   
 
 

wo files here
@ Ok perfect!
Ce © O
*Oo@s. Oo D

 
3:37 wl > oe)

 

2 People >
Christina Spradley
“4 Ohgoodness. <— yes! Lol
wy

Thu, Apr 5, 9:47 AM
Jourdon Work

181407

   
   
   
   
   

Christina and Tanya there
are new files ready for you

guys!

Ok thank you

Christina Spradley

Christina @ ©
a © ra
©*Be<oo:

 
